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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                                                                         RLED
                                                                                    IN OPEN COURT
                                       Alexandria Division




UNITED STATES OF AMERICA                                                      CLERK,U.£
                                                                                 ALEX-^1.k;A,

        V.
                                                     Case No. l:25-CR-23

 PHILIP G. KIKO JR.,

                   Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant, PHILIP G. KIKO JR., agree that at trial, the United

States would have proven beyond a reasonable doubt and with admissible and credible evidence

that on or about April 21,2018, within the Eastern District of Virginia and elsewhere, the defendant

attempted to, and did, employ, use, persuade, induce, entice, and coerce a minor, namely Minor 1,

to engage in sexually explicit conduct for the purpose of producing a visual depiction of such

conduct and for tlie purpose of transmitting a live visual depiction of such conduct, browing and

having reason to brow that such visual depiction would be transported and transmitted using any

means and facility of interstate and foreign commerce and in and affecting mterstate and foreign

commerce; and such visual depiction had actually been ti'ansported and transmitted using any

means and facility of interstate and foreign commerce and in and affecting interstate and foreign

commerce.




       The United States and the defendant hirther agree that at trial, the United States would have

proven beyond a reasonable doubt and with admissible and credible evidence that beginning on or

about June 23, 2024, in the Eastern District of Virginia and elsewhere, the defendant, PFIILIP G.



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KIKO JR., did knowingly publish and cause to be published, a notice and advertisement seeking

and offering to receive, exchange, produce, display, distribute and reproduce a visual depiction,

the production of which visual depiction involved the use of a minor engaging in sexually explicit

conduct, and which visual depiction was of such conduct, knowing and having reason to know that

the notice and advertisement would be transported using a means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce by any means, including

by computer, and such notice and advertisement was transported using a means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce by any

means, including by computer.

       The United States and the defendant further agree that at trial, the United States would have

proven beyond a reasonable doubt and with admissible and credible evidence that, on or about

November 15, 2024, within the Eastern District of Virginia, the defendant, PHILIP G. KIKO JR.,

attempted to and did knowingly possess at least one matter containing a visual depiction that had

been transported using a means and facility of interstate and foreign commerce, and in and

affecting interstate and foreign commerce, and which visual depiction was produced using

materials which had been mailed and so shipped and transported, by any means including by

computer; and the production of such visual depiction involved the use of a minor engaging in

sexually explicit conduct and such visual depiction was of such conduct, to wit: sexually explicit

videos and images of minors stored on an Apple iPhone 14 Plus (IMEI 350028715559982) and an

HP Envy X360 laptop (SN BCG9364XG6). The United States and the defendant further agree

that at least one visual depiction involved in the offense involved a prepubescent minor and a

minor who had not attained 12 years of age engaging in sexually explicit conduct.




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        In addition, the United States and the defendant agree that at trial, the United States would

have proven the following facts beyond a reasonable doubt with admissible and credible evidence:

   I.        The defendant exploited minor boys in Costa Rica to produce sexually explicit
             images and videos of themselves.

        1.      Beginning in at least March 2018, the defendant used WhatsApp—an Intemet-

based end-to-end encrypted messaging application—to persuade and entice minor boys to engage

in sexually explicit conduct and send him visual depictions of themselves engaged in such conduct.

        2.      The defendant met the minor boys in Costa Rica in approximately 2013, when he

worked there as a teacher. The defendant stayed in communication with the boys on WhatsApp

after he left Costa Rica and returned to the United States.


        3.      As further described below, beginning in at least in 2018 the defendant contacted

the minor boys on WhatsApp and asked them to send him sexually explicit images and videos of

themselves. In exchange for the child sexual abuse material (CSAM), the defendant sent money

to the boys’ families.




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      A. The defendant enticed Minor 1 to create sexually explicit images of himself in
         exchange for money.

         4.    On April 21, 2018, the defendant persuaded Minor 1 on WhatsApp to send him
                                                                                         .1
CSAM in exchange for money. The following is an excerpt from their messages:

    DEFENDANT              Let’s start with your pretty face                                         .
    Minor 1                [sends three pictures of his face]
    DEFENDANT              Very good...
    DEFENDANT                   you take off your shirt now?
    Minor 1              1 [sends three selfie-style picture of himself shirtless]   _




    DEFENDANT             Excellent. .. let’s see from behind                                        ‘
    Minor 1               [sends a selfie-style picture of himself The boy is depicted shirtless i
                          and turned away from the camera, so the focus of the image is his
                          back and buttocks]
    DEFENDANT             Can we lower that a little bit?
    Minor 1               I’m earning^sal^                                                       _
    DEFENDANT             Yes if it goes down yes
    DEFENDANT             Because I wanted a preview
    Minor 1               Okay Teacher a little bit for [name redacted] and a little bit for [name
                          redacted]
    DEFENDANT             That’s good
    Minor 1               From the back or tire front?
    Minor 1               [sends picture of his shorts pulled down to expose the top of his
                          underwear]
    DEFENDANT             More
    Minor 1               [sends picture of himself with shorts and underwear pulled down to
                          reveal the top of his buttocks]
    DEFENDi^T             Now... lower everything everything!! I
    Minor 1               [sends a picture of himself with his shorts and underwear lowered,
                          revealing his buttocks]
! Minor 1                 Teacher how much did I earn
h-:
    DEFENDANT             For the moment 5,000. Could you try to open up your cheeks?
    Minor 1               [sends close-up picture of his anus] _
    DEFENDANT             That’s 10,000 for [name redacted]!!! And how are you going to earn
                          for [name redacted]?
    Minor 1               5 and 5 for [n^e^edacted] and [name redacted]?
    DEFENDANT             No... I still want more
    Minor 1               [send^a close up picture ofjus anus and testicles]
    DEFENDANT             That’s 5,000 para [name redacted][.] I want the finger inside for 5,000
                          more




1
 The messages are in Spanish and were translated to English by a Spanish-speaking law
enforcement agent.
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 Minor 1                                                      Teacher with s;^it for [nam^ redacted] and [name redacted] is better. ,
 DEFENDANT                                                    One more [Minor 1].... You can do it...                            _
 Minor 1                                                      ???? ©                                                                                                                                        ^
 DEFENDANT
 Minor 1                                                      [sends a 6-second audio message, stating “Teacher, I can’t do it
                                                              anymore because [name redacted] is asking for the phone back.
                                                                                                                                                                                                       5>




 DEFENDANT                                                 ^ Hi [name redacted] and [Minor 1]! God willing, your mother will
                                                           ! withdraw the money on Monday.

          B. The defendant advertised the child sexual abuse material he produced on the dark
               web.


                5.               Beginning in at least June 2024, the defendant was a participant on a dark web

forum (“the forum”) dedicated to discussion of the sexual abuse of young boys and trafficking

sexually explicit images and videos depicting young boys.

                6.               As depicted below, on June 23, 2024, the defendant posted on the forum that he

had previously spent time in Costa Rica as a teacher. He posted that he had a preview of “[his]

10-year-old boyfriend [Minor 2] who will do anything for money.... you will be floored.
                                                                                                                                                                                                  ^5




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                                                                                                                                                                                   Conua
                                                    |Afv) Mil da nnythmg lo( money. you vnil he floored
Please lel me, how do l posi pio<imo( video?

Thanks leiow toy lows.




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                                         alls” lxlt»




                7.               The defendant posted two links on the forum.                                                                    Another user then reposted the

defendant’s image, which showed a sequence of still shots from a video. The images showed

Minor 2 performing oral sex on a male. After the preview of Minor 2 was posted, the defendant

then posted a link to 17 images and videos depicting multiple different minor boys, including

Minor 2, engaged in sexually explicit conduct (post depicted below).

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Re:
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             I-5u>i .Sn }». »2i I <(

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I don't know hoN to pioiKi iho link but horc a t% onyway. You deserve ro     wed toniQht     09         P
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                                                                                                                                                                                           US'




The videos included, for example, a 1-minute and 7-second video titled, “10YearOId[Minor

2]SucksOtherBrotherAndFriend.mp4. The video shows a prepubescent boy performing oral sex

on another male. The other male is shown wiping what appears to be semen on the prepubescent

boy’s face. The link also included a 2-minute and 36-second video titled [Minor 2]Sucks[Name

Redacted]SemenAgain.mp4. The video shows a prepubescent boy engaged in what appears to be

anal sex with another male. The prepubescent boy is also shown performing oral sex on the male

until the male ejaculates into the boy’s mouth.

                 8.                    The following day, the defendant posted:

Re:|                                                                                                                                                  vy'
                                                                                                                                                                  I.
Thiviks everybody- vvas rtot fvpeamg such a suppodive environm«m They will do anything lot tnoney (excepi for like sch or gross shn) and an of them
have lasted semen. 1 peisooaJly never touched any (A them (some subtle touches ihai me Mys coUd have missed) but I sadly never did onyihing ml..
                                                                                                                                                            steer




                 9.                    On July 4, 2024, the defendant posted the following message on the forum: “We

got it everybody.. .finally. Enjoy their beauty because the negotiations have paused for a bit...

Rc:|                                                                                                                                                        ■ i.1. ll:i
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                                                because Uw ('eaoilaiiens hau«        ed lot a t>l. NOW our
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ofid SBys they al taste good.                                                   ii                                                   totally we..
                                                                                                                                                      rw*    «S




                 10.                   On November 8,2024, an undercover agent (UCA) sent a message to the defendant

on the forum. The defendant told the UCA he would post a “surprise” if the UCA reposted the 17

images and videos that the defendant had originally posted on June 23, 2024. The UCA asked the

defendant what kind of surprise he was talking about, and the defendant replied, “Him sucking

two cocks and cum...
                                                   55

                                                         The UCA clarified that the defendant meant Minor 2, and on November

14, 2024, tlie defendant responded, “I sure do. You think you could help me upload?

                                                                                                                 6
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    C. The defendant possessed thousands of child pornography images and videos on his
       cell phone and laptop.

         11.    On November 15,2024—one day after the defendant attempted to distribute CSAM

to the UCA—law enforcement agents executed a federal search warrant at tlie defendant’s

residence in Arlington, Virginia.

         12.    Law enforcement administered Miranda warnings and the defendant voluntarily

agreed to be interviewed during tlie search of his residence. In this interview, the defendant stated

to law enforcement that he had traveled to Costa Rica in 2013 to teach English and met minor boys

there.   The defendant stated that after he left Costa Rica he stayed in communication witli the


minors on WhatsApp. The defendant admitted that he sent the minors money for them to create

images and videos of themselves engaged in sexually explicit conduct. The defendant stated he

instructed the minors regarding the types of sexual acts they should perform in the videos. The

defendant stated he did this with 7 minor boys, and he had received CSAM from at least one minor

as recently as October 2024. The defendant stated he received the CSAM on WhatsApp and then

saved the CSAM to his laptop, where he would upload it to dark web sites.

         13.    Pursuant to the search warrant, law enforcement seized the defendant’s Apple

iPhone 14 Plus (IMEI 350028715559982) and his silver HP Envy X360 laptop (SN

BCG9364XG6). These two devices contained approximately 24,000 images and videos depicting

minors engaged in sexually explicit conduct, including sexually explicit depictions of

prepubescent children. For example, the defendant had on his HP laptop a photo that depicted a

prepubescent boy being anally penetrated by an adult man’s penis.



         14.    This Statement of Facts includes those facts necessary to support the plea

agreement between the defendant and the United States. It does not include each and every fact

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known to the defendant or to the United States, and it is not intended to be a full enumeration of

all of the facts surrounding the defendant’s case.

         15.    The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.


                                                Respectfully submitted.

                                                ERJK S. SIEBERT
                                                United States Attorney




 Date:    JanuaiT 28, 2025                By:
                                                Lauren Halper
                                                Assistant United States Attorney




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        After consulting with my attorney and pursuant to the plea agreement entered into this day

 between the defendant, PHILIP G. KJKO JR., and the United States, I hereby stipulate that the

 above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the United

 States would have proved the same beyond a reasonable doubt.



                                       PHILIP G.KIKO JR.


        I am Cary Citronberg, the defendant’s attorney. I have carefully reviewed the above

 Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

 informed and voluntary one.


                                               2
                                       Cary Citronberg
                                       Attorney for PHILIP G. KIKO JR.




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